     Case 2:18-cv-02994-SJO-RAO Document 22 Filed 08/15/18 Page 1 of 3 Page ID #:104



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9                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12
      MIGUEL NAPOLES, individually                  )    Case No.
13    and on behalf of all others similarly         )
14    situated,                                     )
                                                    )      2:18-cv-02994-SJO-RAO
15
      Plaintiff,                                    )
16                                                  )
      vs.                                           )    NOTICE OF DISMISSAL OF
17                                                       ACTION WITH PREJUDICE AS
                                                    )
18    DENT-A-MED, INC.,                             )    TO THE NAMED PLAINTIFF
      Defendant.                                    )    AND WITHOUT PREJUDICE AS
19
                                                    )    TO THE PUTATIVE CLASS
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                                                    )
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                                         Notice of Dismissal - 1
     Case 2:18-cv-02994-SJO-RAO Document 22 Filed 08/15/18 Page 2 of 3 Page ID #:105



1           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
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      Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
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4     prejudice as to all of their individual claims and without prejudice as to the claims
5
      of any putative class member. Each party shall bear their own costs and attorneys’
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7     fees. Defendant has neither answered Plaintiff’ Complaint, nor filed a motion for
8
      summary judgment. Accordingly, this matter may be dismissed with prejudice and
9
      without an Order of the Court.
10

11          RESPECTFULLY SUBMITTED this August 15, 2018.
12

13                                             By:  /s/Todd M. Friedman
                                                      Todd M. Friedman
14
                                               Law Offices of Todd M. Friedman, P.C.
15                                                     Attorney for Plaintiff
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                                         Notice of Dismissal - 2
     Case 2:18-cv-02994-SJO-RAO Document 22 Filed 08/15/18 Page 3 of 3 Page ID #:106



1
                               CERTIFICATE OF SERVICE
2

3     Filed electronically on August 15, 2018 with:
4
      United States District Court CM/ECF system
5

6
      Notification sent electronically on August 15, 2018 to:

7     To the Honorable Court, all parties and their Counsel of Record
8

9
      By: s/ Todd M. Friedman
10
         Todd M. Friedman Esq.
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                                        Notice of Dismissal - 3
